{¶ 22} I concur with the majority as to its analysis and disposition of this case. I write separately only to clarify my position as to when the appeal time begins to run.
  {¶ 23} Most trial courts order costs to be assessed in their original judgment entries. If an itemized cost bill is prepared by the Clerk of Courts, the specific amount due is generally not put into a judgment entry. Thus, there is no order of the court to pay a specific amount for court costs until there is an attempt to collect the costs by levy or garnishment. If the procedure used by the trial court is as I have just described, then I agree with the majority that the appeal time begins to run when there is an attempt to levy or garnish, not at the time the trial court writes "costs assessed to defendant."
  {¶ 24} But, if a trial court would, for some reason, go ahead and put the specific amount of costs due into a judgment entry prior to a levy or garnishment attempt, then I would find that the appeal time to challenge the amount of the judgment begins to run from the time of the entry.
  {¶ 25} In addition, I would find that any time that the court renders a judgment as to a defendant's indigency status, a new final appealable order exists.
For the reasons stated in the Memorandum-Opinion on file, the judgment of the Court of Common Pleas of Stark County, Ohio is vacated and the matter is remanded to said court for further proceedings consistent with this opinion.